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                                 EXHIBIT F
                          Messenger High School IEP
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Provo School District                                           Individualized Education Program (IEP)                                                                             SpEd 6
                                                                                                                                                                                O June 95
Provo, Utah 84604                                                                                                                                                                    D.D.



    Student                                                                        Birthdate                                      Date of IEP
    School           :                                                             Primary Language of Parent/Guardian
    Classification
                                              Note: In conjunction with this IEP, provide parents with a copy of Procedwal Safeguards and
                                                        Prior Notice/Documentation with IEP and Placement sections completed.

        Special Education and Related Services
                    Special Education              Program                                      Amountof Time:                      E Daily tr               Weekly
                    The following related services are required for student to benefit from special education:

                                                                                                AmountofTime:                       D Daily tl               Weekly
                                                                                                          -
                                                                                                AmountofTime:-                      E Daily tr               Weekly

       tr           Check i f transportation             will    be   provided.
                                                                                                                    -
                    Projected date of initiation of these services, if other than date of IEP:
                    Anticipated duration of the services:.El One year from initiation date,OR                                      fl    Other:


       Participation in Regular Education programs
                              Regular Education Program                                     Amountof     Time:-                     E Daily tr               Weekly
                              Physical Education (PE)             will be addressed through             Q"   Regular      PE OR tr            Modified     PE

                              Other:


       Transition (Applicable for students                            16 and over, or      who need transition planning)
                  tl        Transition planning will be addressed through the sfudent's Student Advisement Program or SEOP

                  .E        Transition planning is addressed on IEP addendum (see attached)


      Placement Review (not applicable for initial placement)
                  Maintain current placement of:
        -          tr         Regular class/resource             E         Special class    E     Special school     E      Home Instruction        E      Hosp.,/Institution
      OR
                  Change current placement (Complete and attach Documentation of Change of Placement and Prior Notice of change of
       -                                                   placement.)

                              Parent signature signifies participation in the development of the IEP and receipt and understanding of Procedural Safeguards.

       IEP Participants                                                                                 IEP Review Participants

                              l'arent signature*                                    Date                                Parent signature"
                        j
      '-',.\..,         i "     .. \   | ,.    .    .   ., -i    ts   ''         . : ti I
                               Parent signature                                     Ddte                                 Parent signature*                           Date


                                LEA signature                                                                              LEA signature                                 Date


                               Student signature                                                                         Student signature

                              Tqacher's signature                                   Date                                Teacher's signature                              Date


                              Teacher's Signature                                  Date                                 Teacher's Signahrre                     --"te-
                                   Signature                                       Date                                     blgnature                           --D7G-
     *Note: If parent signature is missing, check below:                                            +Note: If pilerrt signature is missing, check below:
     E      did not attend (document efforts to involve parent)                                     E   did not attend (document efforts to involve parent)
     fJ     puticipated but refused to sign                                                         E   participated but refwd to sign
     E      via telephone (copy of IEP/procedural safeguards sent)                                  E   via telephone (copy of lEP/procedwal safeguards sent)
     fl     other:                                                                                  E   other
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Provo School District                               Individualized Education Program (IEP)                                                          SpEd 6a1
                                                                                                                                                    @June 95
Provo, Utah 84604                                                                                                                                       D.D.


Student:                                                                                                               Date of IEP:

   Present Levels of Performance:




                                .i,   .




  Annual Goal:


   .Short Term Objective:

                                                                                                   -.1'




    Criteria, evaluation procedures, and schedule for determining whether objective is being achieved:
                                                                   ,l                                a          .




    Status: Date Started:                                                                  Date Mastered:                           Other:

  oShort Term Objective:




                                          '.'l t   ( { ,       .        {   t       ..r'
    ci iter ia, )   eit, ai,,   aii o.t procedureS, and sche$irle                           foi ietermlning whether objectiv'e iJ Ueing achieved:
                                                           4t,


    Status: Date Started:                            l:    r                               Date Mastered:                          Other:

  oShort Term Objective:




    Criteria, evaluation procedures, and schedule for determining whetheg. objective is being'achieved:

                                                                                I
    Status: Date Started:                                                                  Date Mastered:                          Other:
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Provo School District               Individu ahzedEducation Program (IEP)                                            SpEd 6a2
                                                                                                                     @ June 95
Provo, Utah 84604                               (Use   rnultiple sheels   as necessary)                                   D.D.




      Student:                                                                    Date of IEP:        It -34-qb

stl   Annual Goal:




il    .Short Term Objective;




      Criteria, evaluation procedures,    schedule for determining whether objective is being achieved:
                                                4 I                       ".1--           --? ,. ..    LJ   ..   t




      Status: Date Started:                        Date Mastered:




      Criteria, evaluation procedures,.and schedule for                      whether objective is being achieved:




      Status: Date Started:                       bdte Mastered:                                       Other:




      .Short Term




      Criteria, evaluation procedures, and schedule for determining whether objective is being achieved:




       Status: Date Started:                       Date Mastered:                                       Other:
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                                                                                                                                       SoEd 6c
Provo School District                                  Individualized Education Program Addendum                                       @lune95
Provo, Utah 84604
                                                                    Transition Planning                                                   D.D.

                                                                                                                            'i
                                                                                                 Date of IEP




      Check possible post school outcome(s) for the student:
      dPost         secondary education                                E         Vocational training
      E    Integrated employment                                       E         Adult services
           (including supported employment)                            E         Independent living or community participation

TRANSITION ACTIVITIES/SERVICES
          Check the transition activities/services needed to promote movement from school to the post school outcome(s)
          checked above. Refer to IEP goals or explain how iransition activities/services will be provided. Indicate who
          witl be responsible, and why services may not be needed.
     rlnstruction:      See   student's IEP and/or SEOP.

     .Community Experiences: means experiences outside of school, facilitated by the school and designed to achieve post
                             school o.rlcomes (e.g. shopping, accessing the community, transportation, job sampling).

         Experiences that      will   be   provided:   See IEP goal(s) #                                        or list experiences:




          Agency responsible: E School District E Other
          OR Statement explaining why seraice is not needed:
          E    Functions independently in the community.                    tr    Other
     .Employment Objectives: means objectives designed to prepare the student for employment.
      Post School Adult Living: means objectives designed to prepare the student for post school adult living.
          Employment objective: See IEP Goal(s) #
          Agency responsible: E School District E}Other
          Post school adult living objective: See IEP Goal(s) #
          Agency responsible: E School District E Other
          OR Statement explaining why seraice is not needed:
          E Student is adequately prepared for employment. E Student is adequately prepared for post school adult living.
          E other ,", 'r:
     .Acquisition of Daily Living Skills: means skills that prepare the student for daily living'              See IEP Goal(s) #
                                                                     -'7 ; i-"-'i"-'
        Agency responsible: E School District E'Other -:--.
        E Not Appropriate
     .Functional Vocational Evaluation: means an assessment of student's vocational aptitudes and skills for a supported
                                                       employment setting.
          Agency responsible: Sschool District                  I   Other
           E   Not Appropriate


     If the student did not participate in this plan, indicate the steps taken to ensure the student's preferences were considered.



     If a representative of an agency responsible for providing an activity did not participate, indicate the steps that will be
     taken to obtain the participation of the agency.
